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IN THE UNITED sTATES DISTRICT COURT §
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EASTERN DIVISION 39 AH 9,- 52

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KIMBERLY POLLOCK,

Plaintiff,
NO. 1-05-1086-T/AN

V.

THE GOODYEAR TIRE & RUBBER CO.,

Defendant.

ORDER OF DISMISSAL WITH PREJUI)ICE

[t being represented by the parties that they have stipulated to dismissal With prejudice of

all claims before this court

IT IS, THEREFORE, ORDER_ED, ADJUDGED AND DECREED that this cause is

hereby dismissed with prejudice, each party to bear its own costs

QFMM&QHM

Unitj{$tates Distiict Judge

Date: ZOM?WM

 

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Honorable .l ames Todd
US DISTRICT COURT

